                                                           Case 2:21-cv-01367-JAD-NJK Document 12
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                                                       1   Richard C. Gordon
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                                                       6   Attorneys for Defendant City of North Las Vegas, a
                                                           Nevada Municipal Corporation Health Benefit Plan
                                                       7

                                                       8                                 UNITED STATES DISTRICT COURT
                                                       9                                        DISTRICT OF NEVADA
                                                      10

                                                      11   Lana Newson,
                                                                                                                 Case No. 2:21-cv-01367-JAD-NJK
                                                      12                          Plaintiff,
             3883 Howard Hughes Parkway, Suite 1100




                                                                                                                 STIPULATION AND ORDER TO
                                                      13   vs.                                                   EXTEND TIME FOR DEFENDANT TO
Snell & Wilmer
                    Las Vegas, Nev ada 89169




                                                                                                                 FILE ANSWER OR OTHERWISE
                         LAW OFFICES




                                                      14   City of North Las Vegas, a Nevada Municipal           RESPOND TO PLAINTIFF’S
                          702.784 .5200




                                                           Corporation Health Benefit Plan,                      COMPLAINT
                               L.L.P.




                                                      15
                                                                                  Defendant.                     (THIRD REQUEST)
                                                      16

                                                      17

                                                      18          Plaintiff Lana Newson and Defendant City of North Las Vegas, a Nevada Municipal

                                                      19   Corporation Health Benefit Plan (the “City”) (together, the “Parties”) hereby stipulate to extend the

                                                      20   time for the City to file an Answer or otherwise respond to Plaintiff’s Complaint [ECF No. 1] from

                                                      21   the current due date of Wednesday, September 22, 2021 to October 13, 2021.

                                                      22          This is the third stipulation for an extension of this deadline. The Parties provide the

                                                      23   following information to the Court regarding the proposed extension of time:

                                                      24          1.      The Parties are currently in active discussions to dismiss and/or settle the pending

                                                      25          litigation. The Parties believe that the requested extension will give them the necessary

                                                      26          time to come to an amicable resolution.

                                                      27   This stipulation to extend the deadline is made in good faith and not for purposes of delay.

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                                                           Case 2:21-cv-01367-JAD-NJK Document 12
                                                                                               11 Filed 09/23/21
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                                                       1
                                                           Dated: September 22, 2021                           Dated: September 22, 2021
                                                       2
                                                           LAW OFFICES OF JULIE A. MERSCH                      SNELL & WILMER L.L.P.
                                                       3

                                                       4
                                                            By: /s/ Julie A. Mersch                         By: /s/ Richard Gordon
                                                       5       Julie A. Mersch (NV Bar No. 4695)               Richard C. Gordon (NV Bar No. 9036)
                                                               1100 E. Bridger Ave.                            3883 Howard Hughes Parkway
                                                       6       Las Vegas, Nevada 89101                         Suite 1100
                                                               jam@merschlaw.com                               Las Vegas, Nevada 89169
                                                       7
                                                                Attorneys for Defendant Lana Newson            Attorney for Defendant City of North Las
                                                       8                                                       Vegas, a Nevada Municipal Corporation
                                                                                                               Health Benefit Plan
                                                       9

                                                      10

                                                      11
                                                                                                             IT IS SO ORDERED.
                                                      12
             3883 Howard Hughes Parkway, Suite 1100




                                                      13
Snell & Wilmer
                    Las Vegas, Nev ada 89169
                         LAW OFFICES




                                                      14                                                     United
                                                                                                             United States
                                                                                                                    StatesDistrict Court Judge
                                                                                                                                         Judge
                          702.784 .5200




                                                                                                                           Magistrate
                               L.L.P.




                                                      15                                                     Dated: September 23, 2021
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